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 1   [Stipulating parties listed on signature page]

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                               UNITED STATES DISTRICT COURT
 8                           NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
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10   IN RE: CATHODE RAY TUBE (CRT)                    Master File No. 3:07-CV-05944-JST
     ANTITRUST LITIGATION                             MDL No. 1917
11

12   This Document Relates To:                        STIPULATION AND [PROPOSED]
                                                      ORDER REGARDING RESETTING
13   Sears, Roebuck and Co. and Kmart Corp. v.        CASE MANAGEMENT
     LG Electronics, Inc., et al, Case No. 11-cv-     CONFERENCE TO NOVEMBER 8,
14   05514                                            2016
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                                                             Master File No. 3:07-CV-05944-JST
            STIPULATION AND [PROPOSED] ORDER RESETTING CASE MANAGEMENT CONFERENCE
       Case 3:07-cv-05944-JST Document 4914 Filed 10/03/16 Page 2 of 3



 1          WHEREAS, at a hearing before this Court on September 20, 2016, this Court set a further
 2   Case Management Conference in the above-captioned action for November 15, 2016 at 9:30 a.m.;
 3          WHEREAS, since the September 20, 2016 hearing, Plaintiff’s counsel learned of a
 4   conflict due to a hearing in another case that had been scheduled prior to September 20, 2016; and
 5          WHEREAS, the parties’ counsel have conferred about this conflict, and now request that
 6   the Court set the Case Management Conference on the date originally offered by the Court,
 7   November 8, 2016 at 9:30 a.m.
 8          NOW, THEREFORE, PURSUANT TO LOCAL RULE 7-12, PLAINTIFFS SEARS,
 9   ROEBUCK       AND     CO.    AND    KMART       CORPORATION,         AND     DEFENDANT        LG
10   ELECTRONICS, INC., BY AND THROUGH THEIR RESPECTIVE COUNSEL OF RECORD,
11   HEREBY STIPULATE THAT:
12          1.     Subject to the Court’s permission, the Case Management Conference in the above-
13   captioned action be rescheduled for November 8, 2016 at 9:30 a.m.
14   Dated: September 29, 2016                     Respectfully submitted,
15
                                                   KENNY NACHWALTER, P.A.
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17
                                                   By:    /s/ William J. Blechman
18                                                       Richard Alan Arnold, Esquire
                                                         William J. Blechman, Esquire
19                                                       Douglas Patton, Esquire
                                                         Samuel J. Randall, Esquire
20                                                       Christina Ceballos-Levy
                                                         KENNY NACHWALTER, P.A.
21                                                       201 S. Biscayne Boulevard
                                                         Suite 1100
22                                                       Miami, Florida 33131
                                                         Tel: (305) 373-1000
23                                                       Fax: (305) 372-1861
                                                         E-mail: rarnold@knpa.com
24                                                                 wblechman@knpa.com
                                                                   dpatton@knpa.com
25                                                                 srandall@knpa.com
                                                                   ccl@knpa.com
26

27                                                 Attorneys for Plaintiffs Sears, Roebuck and Co.
                                                   and Kmart Corp.
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                                             -1-              Master File No. 3:07-CV-05944-JST
             STIPULATION AND [PROPOSED] ORDER RESETTING CASE MANAGEMENT CONFERENCE
         Case 3:07-cv-05944-JST Document 4914 Filed 10/03/16 Page 3 of 3



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                                                          MUNGER, TOLLES & OLSON LLP
 3

 4                                                        By:    /s/ Brad Brian
                                                                Brad Brian (State Bar No. 079001)
 5                                                              Gregory J. Weingart (State Bar No. 157997)
                                                                E. Martin Estrada (State Bar No. 223802)
 6                                                              355 South Grand Avenue
                                                                35th Floor
 7                                                              Los Angeles, CA 90071-1560
                                                                Tel: (213) 683-9100
 8                                                              Fax: (213) 687-3702
                                                                E-mail: brad.brian@mto.com
 9                                                                       gregory.weingart@mto.com
                                                                         martin.estrada@mto.com
10
                                                          Attorneys for Defendant LG Electronics, Inc.
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14              Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
15   document has been obtained from each of the above signatories.
16              It is so stipulated and agreed to by the parties.
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21   PURSUANT TO STIPULATION, IT IS SO ORDERED.
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23   Dated: October 3, 2016
                                                                Honorable Jon S. Tigar
24                                                              United States District Judge
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                                                   -2-           Master File No. 3:07-CV-05944-JST
                STIPULATION AND [PROPOSED] ORDER RESETTING CASE MANAGEMENT CONFERENCE
